







		NO. 12-08-00498-CR


NO. 12-08-00499-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




TERESA DIANE NICHOLSON,§
	APPEALS FROM THE 

APPELLANT


V.§
	COUNTY COURT AT LAW NO. 2 OF


THE STATE OF TEXAS,

APPELLEE§
	SMITH COUNTY, TEXAS






MEMORANDUM OPINION


PER CURIAM


	Appellant has filed a motion to dismiss these appeals.  The motion is signed by Appellant
and her counsel.  No decision having been delivered by this court, the motion is granted, and the
appeals are dismissed in accordance with Texas Rule of Appellate Procedure 42.2.

Opinion delivered January 14, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.










(DO NOT PUBLISH)


